                   IN THE DISTRICT COURT OF THE UNITED STATES
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               ASHEVILLE DIVISION


UNITED STATES OF AMERICA        )                    DOCKET NO. 1:17CR82
                                )
             vs.                )
                                )                    ORDER TO SEAL
(1) RUTH MARIE SEQUOYAH MCCOY )
(2) TIMOTHY RAY TAYLOR          )
(3) GOLAN PEREZ                 )
(4) OFIR MARSIANO               )
(5) KAILA NIKELLE CUCUMBER      )
(6) JESSICA MARIE GONZALEZ      )
(7) JORDAN ELIZABETH LITTLEJOHN )
(8) KEVIN DEAN SWAYNEY          )
(9) ILYA DOSTANOV               )
(10) IEVGENII REINT             )
(11) SHAUL LEVY                 )
(12) YANA PELTZ                 )



       Upon motion of the United States Attorney, it is hereby ORDERED, ADJUDGED AND

DECREED that the above referenced Bill of Indictment, Warrants and the Motion to Seal the Bill

of Indictment be sealed until the defendants have been arrested.



                                           Signed: June 19, 2017




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